                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )       No. 3:11-00012
                                           )       Judge Sharp
QUINICE CROSS [10]                         )

                                          ORDER

       Defendant Quinice Cross’s “Motion to Permit Defendant to Participate In Exhibit Review”

(Docket No. 1660), to which the Government has indicated it has no objection (Docket No. 1661)

is hereby GRANTED, and Defendant Cross and his counsel may participate in the exhibit display

on July 26, 2013.

       It is SO ORDERED.



                                                   ____________________________________
                                                   KEVIN H. SHARP
                                                   UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00012      Document 1681          Filed 07/22/13   Page 1 of 1 PageID #: 7717
